                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  NO. 5:14-CR-240-BR


UNITED STATES OF AMERICA                           )
                                                   )
                v.                                 )   ORDER
                                                   )
WILLIAM SCOTT DAVIS, JR.                           )
                                                   )


       This matter is before the court on numerous pro se filings by defendant which are largely

illegible. Because defendant is represented by counsel, all pro se motions are DENIED, with

the exception of those motions which appear to be for appointment of new counsel, DE ## 151,

214. As for any future motion that defendant may file pro se, other than a motion for

appointment of new counsel, the Clerk is DIRECTED to enter the motion on the docket and

terminate it without further order of the court.

       This 23 December 2015.




                                       __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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